             Case 1:17-cv-02972-JRR Document 641 Filed 07/11/23 Page 1 of 4



                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF MARYLAND


KEYES LAW FIRM, LLC,
           Plaintiff,
           v.                                                          Civil No. 1:17-CV-02972-JRR
NAPOLI BERN RIPKA SHKOLNIK, LLC, ET AL.,

           Defendants.


                 ORDER OF JUDGMENT OF ATTORNEYS’ FEES AND COSTS
           The court referred to United States Magistrate Judge A. David Copperthite for Report and

Recommendation Plaintiff’s Motion for Attorneys’ Fees at ECF No. 606 (the “Motion”). (ECF

No. 627.) Judge Copperthite conducted a hearing on May 4, 2023, and, thereafter, issued a Report

and Recommendation. (ECF No. 636.) Defendants Paul J. Napoli, individually; Napoli Shkolnik,

PLLC; Napoli Shkolnik & Associates, PLLC; Paul Napoli Law, PLLC; and Napoli Law, PLLC,

(collectively, the “Napoli Defendants”) filed timely objections to the R&R at ECF No. 638.

Defendants Napoli Bern Ripka Shkolnik, LLP, and Defendants Napoli Bern, LLP, Napoli Bern &

Associates, LLP, Napoli Bern Ripka, LLP, Napoli Bern Ripka & Associates, LLP, Napoli Bern

Ripka Shkolnik & Associates, LLP, Law Offices of Napoli Bern, LLP, Law Offices of Napoli

Bern Ripka & Associates, LLP, Law Offices of Napoli Bern Ripka Shkolnik LLP, Napoli Kaiser,

Bern & Associates, LLP, Pasternack Tilker Napoli Bern, LLP, and Law Offices of Napoli Bern

Ripka Shkolnik & Associates LLP (collectively, the “Legacy Defendants”) filed their objections

to the R&R at ECF No. 639, which incorporate by reference the objections of the Napoli

Defendants. 1



1
    Use of “Defendants” or “all Defendants” means the Napoli Defendants and the Legacy Defendants collectively.
             Case 1:17-cv-02972-JRR Document 641 Filed 07/11/23 Page 2 of 4



           The R&R recommends that the court grant the Motion in part 2 and award $437,819.54 in

attorneys’ fees and $613,053.44 in costs, for a total of $1,050,872.98, in favor of Plaintiff and

against all Defendants, jointly and severally, at the interest rate consistent with 28 U.S.C. § 1961

(see ECF No. 596), for Defendants’ bad faith litigation misconduct as set forth in the R&R.

           The court has reviewed the Motion, the hearing transcript at ECF No. 640-1, the R&R, the

Napoli Defendants’ Objections, and the Legacy Defendants’ Objections. None of the Defendants’

objections has merit; rather they materially miscontextualize Judge Copperthite’s statements on

the record, ignoring material portions of his thorough and thoughtful analysis.

           Defendants complain that Judge Copperthite incorrectly described various of their

positions or arguments (including as to whether the court has authority to sanction as requested in

the Motion and whether Defendants addressed the Johnson 3 factors relevant to the lodestar

analysis). The transcript and the papers speak for themselves. It is true that Defendants do not

challenge the court’s inherent or rule-based authority to sanction as a general proposition, but

Defendants’ oppositions to the Motion plainly dispute the court’s authority to impose the sanctions

requested in the Motion. (See, e.g., ECF No. 614 at 3.) Regardless, this objection is of no

substantive moment.            Likewise, Defendants’ objection that Judge Copperthite failed to

acknowledge that they did, in fact, address the Johnson factors is of no moment (and incorrect).

What is important, however, is Defendants’ objection that Judge Copperthite’s “fail[ed] to address

the Eighth Johnson factor.” (ECF No. 638 at 4.) Here, too, Defendants’ objection lacks support

in the record. The R&R expressly delineates all twelve Johnson factors, adopts as correct

Plaintiff’s analysis as to same; and, with the respect to the eighth Johnson factor (the amount in

controversy and the results obtained), Judge Copperthite expressly (and correctly) dispensed with


2
    The Motion seeks a total award of $1,308,118.57. (ECF No. 606 at 45.)
3
    Johnson v. Ga. Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974).

                                                         2
         Case 1:17-cv-02972-JRR Document 641 Filed 07/11/23 Page 3 of 4



Defendants’ arguments pertaining to settlement offers and litigation outcomes as “specious” and

“irrelevant,” because the sanctions requested are for Defendants’ bad faith litigation misconduct;

the Motion is not rooted in a prevailing party argument. (See, e.g., R&R, ECF No. 636, at 7;

hearing transcript, ECF No. 640-1, at 37.) Notably, Defendants waive all objection to Judge

Copperthite’s finding “by clear and convincing evidence” that Defendants engaged in “intentional

misconduct strategically devised to harass Plaintiff, waste the time and resources of this Court,

and blatantly defy the Orders of this Court.” (R&R, ECF No. 636, at 7.)

       The court agrees, wholesale, with Judge Copperthite’s evaluation and description of

Defendants’ conduct in this action, and concurs entirely and without exception with Judge

Copperthite’s legal analysis.

       Therefore, it is this 11th day of July 2023, FOUND and ORDERED that:

       1.      Defendants’ objections at ECF Nos. 638 and 639 are OVERRULED;

       2.      The court accepts and adopts in its entirety Judge Copperthite’s Report and

Recommendation at ECF No. 636, as all factual findings, legal analysis, and legal conclusions set

forth therein are correct, well-reasoned, and consistent with the law. 28 U.S.C. § 636(b)(3); Local

Rule 301.5 FED. R. CIV. P. 72;

       3.      Plaintiff’s Motion for Attorneys’ Fees at ECF No. 606 is GRANTED IN PART as

follows and DENIED in all other respects: JUDGMENT shall be entered in favor of Plaintiff

Keyes Law Firm, LLC, and jointly and severally against Defendants Paul J. Napoli; Napoli Bern

Ripka Shkolnik LLP; Paul Napoli Law PLLC; Napoli Law PLLC; Napoli Shkolnik, PLLC; Napoli

Shkolnik & Associates PLLC; Napoli Bern LLP; Napoli Bern & Associates LLP; Napoli Bern

Ripka & Associates LLP; Napoli Bern Ripka LLP; Napoli Bern Ripka Shkolnik & Associates

LLP; Law Offices of Napoli Bern LLP; Law Offices of Napoli Bern Ripka & Associates LLP;



                                                3
          Case 1:17-cv-02972-JRR Document 641 Filed 07/11/23 Page 4 of 4



Law Offices of Napoli Bern Ripka Shkolnik LLP; and Law Offices of Napoli Bern Ripka Shkolnik

& Associates LLP in the total amount of $1,050,872.98 (representing $437,819.54 in attorneys’

fees and $613,053.44 in costs), plus post-judgment interest consistent with 28 U.S.C. § 1961;

         4.   In the event any Defendant appeals to stay execution of this Judgment, the

appealing Defendants shall, pursuant to Local Rule 110, post a supersedeas bond in the amount of

120% of the above-referenced Judgment amount plus an additional $500 to cover Plaintiffs’ appeal

costs;

         5.   Any and all prior rulings of the court disposing of any claims against any parties

are hereby incorporated by reference herein; and this Judgment shall be deemed a final judgment

in accordance with FED. R. CIV. P. 58; and

         6.   Madam Clerk shall close this case.

                                                                  /S/

                                                           ______________________
                                                           Julie R. Rubin
                                                           United States District Judge




                                               4
